            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 1 of 37




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8
                                  UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
10

11
     FEDERAL TRADE COMMISSION,
12
                   Plaintiff,
13          v.                                         Case No. 3:23-CV-01710-AMO
14   INTERCONTINENTAL EXCHANGE, INC.                   PLAINTIFF FEDERAL TRADE
                                                       COMMISSION’S MEMORANDUM OF
15   and                                               POINTS AND AUTHORITIES IN
                                                       SUPPORT OF MOTION FOR A
16   BLACK KNIGHT, INC.,                               PRELIMINARY INJUNCTION
17                 Defendants.                         REDACTED VERSION OF DOCUMENT
                                                       SOUGHT TO BE SEALED
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     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
             Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 2 of 37




1                               NOTICE OF MOTION AND MOTION

2           PLEASE TAKE NOTICE that on July 25, 2023, Plaintiff Federal Trade Commission

3    (“FTC” or “Commission”) shall move and hereby does move the Court for a preliminary

4    injunction against Defendants Intercontinental Exchange, Inc. (“ICE”) and Black Knight, Inc.

5    (“Black Knight”) pursuant to 15 U.S.C. § 53(b) and Civil L.R.7-2. Plaintiff respectfully requests

6    that this Court issue a preliminary injunction that will preserve the status quo and prevent ICE

7    from consummating its proposed acquisition of Black Knight (“Acquisition”) while the

8    Commission adjudicates whether the Acquisition is unlawful in an administrative proceeding.

9    The Commission initiated the administrative proceeding regarding the legality of the

10   Acquisition pursuant to §§ 7 and 11 of the Clayton Act, 15 U.S.C. §§ 18, 21, and § 5 of the FTC

11   Act, 15 U.S.C. § 45, by filing an administrative complaint on March 9, 2023. The administrative

12   hearing will begin on July 12, 2023. Plaintiff’s motion is based on this Notice of Motion; the

13   Memorandum of Points and Authorities in support filed concurrently; the declaration of Ashley

14   Masters and the attachments thereto; all other pleadings on file in this action; and any other

15   written or oral argument that the FTC may present to the Court.

16                                      ISSUE TO BE DECIDED

17          Whether the Court should grant a preliminary injunction to preserve the status quo and

18   prevent Defendants from consummating the Acquisition until the Commission has had an

19   opportunity to adjudicate the Acquisition’s legality in an administrative proceeding when (1) the

20   Commission has found reason to believe that the Acquisition may substantially lessen

21   competition, or tend to create a monopoly, in one or more relevant markets; (2) the FTC is

22   likely to succeed on the merits; and (3) the balance of the equities favors the FTC.

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     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                                i
                 Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 3 of 37




                                                     TABLE OF CONTENTS
1
     NOTICE OF MOTION AND MOTION ......................................................................................... i
2
     ISSUE TO BE DECIDED ............................................................................................................... i
3
     MEMORANDUM OF POINTS AND AUTHORITIES ................................................................ 1
4
     I.          INTRODUCTION .............................................................................................................. 1
5    II.         FACTUAL BACKGROUND ............................................................................................. 2
6    III.        ARGUMENT ...................................................................................................................... 4
7           A.        The FTC Is Likely to Succeed on the Merits in the Administrative Proceeding .......... 5
8                     1.         The Acquisition Is Presumptively Illegal and Likely to Cause
                                 Anticompetitive Effects in the Markets for Commercial LOSs and All
9                                LOSs ................................................................................................................. 7
10                               a)         Commercial LOSs and All LOSs Are Relevant Product Markets ........ 7
                                 b)         The Acquisition Creates a Presumptively Illegal Increase in
11                                          Concentration in the Relevant LOS Product Markets......................... 10
12                               c)         There Is a Reasonable Probability that the Acquisition Will Result
                                            in Anticompetitive Effects in the Relevant LOS Product Markets ..... 11
13
                      2.         The Acquisition Is Presumptively Illegal and Reasonably Likely to
14                               Cause Anticompetitive Effects in the Relevant PPE Product Markets ........... 12
                                 a)         PPEs for Encompass Users and All PPEs Are Relevant Product
15
                                            Markets ............................................................................................... 12
16                               b)         The Acquisition Creates a Presumptively Illegal Increase in
                                            Concentration in the Relevant PPE Product Markets ......................... 14
17
                                 c)         There Is a Reasonable Probability that the Acquisition Will Result
18                                          in Anticompetitive Effects in the Relevant PPE Product Markets ..... 15
19                                          i.         The Acquisition Will Eliminate Head-to-Head PPE
                                                       Competition Between ICE and Black Knight ......................... 15
20                                          ii.        The Acquisition Will Increase ICE’s Ability and Incentive
                                                       to Foreclose Competition from Other PPE Providers ............. 19
21
                      3.         Defendants Cannot Rebut Plaintiff’s Prima Facie Case ................................ 22
22
                                 a)         Defendants Cannot Demonstrate that the Proposed Divestiture
23                                          Will Restore Competition in the Relevant Product Markets .............. 22
                                            i.         The Divestiture Does Not Remedy Competitive Harms in
24                                                     PPE Markets............................................................................ 24
25                                          ii.        The Divestiture Conveys an Incomplete Business.................. 24

26                                          iii.       The Divestiture Would Create Ongoing Entanglements and
                                                       Render Constellation Dependent Upon ICE ........................... 26
27

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               ii
Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 4 of 37
                Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 5 of 37




1                                                        TABLE OF AUTHORITIES

2    Cases
     Brown Shoe Co. v. United States, 370 U.S. 294 (1962) ............................................... 8, 12, 13, 19
3
     California v. Am. Stores Co., 872 F.2d 837 (9th Cir. 1989), rev’d on other grounds,
4
         495 U.S. 271 (1990)................................................................................................................. 6
5
     Ford Motor Co. v. United States, 405 U.S. 562 (1972) ............................................................ 7, 23
6
     FTC v. Affordable Media, 179 F.3d 1228 (9th Cir. 1999) .............................................................. 4
7
     FTC v. Cardinal Health, Inc., 12 F. Supp. 2d 34 (D.D.C. 1998) ................................................. 14
8
     FTC v. CCC Holdings Inc., 605 F. Supp. 2d 26 (D.D.C. 2009) ..................................................... 5
9
     FTC v. Elders Grain, Inc., 868 F.2d 901 (7th Cir. 1989) ............................................................... 6
10   FTC v. H.J. Heinz Co., 246 F.3d 708 (D.C. Cir. 2001) .................................................. 5, 6, 10, 30
11   FTC v. Hackensack Meridian Health, Inc., 30 F.4th 160 (3d. Cir. 2022) .................................... 11
12   FTC v. Meta Platforms Inc., No. 5:22-CV-04325-EJD, 2023 WL 2346238
13      (N.D. Cal. Feb. 3, 2023) .................................................................................................... 8, 23

14   FTC v. Nat’l Tea Co., 603 F.2d 694 (8th Cir. 1979) ...................................................................... 5

15   FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865 (E.D. Mo. 2020) ........................................ 30

16   FTC v. ProMedica Health Sys. Inc., 3:11 CV 47, 2011 WL 1219281
        (N.D. Ohio Mar. 29, 2011) .................................................................................................... 30
17
     FTC v. Staples, Inc., 190 F. Supp. 3d 100 (D.D.C. 2016) ............................................................ 23
18
     FTC v. Steris Corp., 133 F. Supp. 3d 962 (N.D. Ohio 2015) ....................................................... 23
19
     FTC v. Sysco Corp., 113 F. Supp. 3d 1 (D.D.C. 2015).......................................................... passim
20
     FTC v. Warner Commc’ns Inc., 742 F.2d 1156 (9th Cir. 1984) ....................................... 4, 5, 6, 30
21
     FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028 (D.C. Cir. 2008) ...................................... 5, 6, 7, 9
22
     In re Illumina, Inc., Dkt. No. 9401, 2023 WL 2946882 (FTC Mar. 31, 2023) ...................... 19, 23
23
     St. Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775
24        (9th Cir. 2015) ................................................................................................................ passim

25   Theme Promotions, Inc. v. News Am. Mktg. FSI, 546 F.3d 991 (9th Cir. 2008) ............................ 9

26   United States v. Aetna Inc., 240 F. Supp. 3d 1 (D.D.C. 2017) .............................................. passim

27   United States v. Alum. Co. of Am., 377 U.S. 271 (1964) ................................................................ 7

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               iv
                 Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 6 of 37




     United States v. Bazaarvoice, Inc., No. 13-CV-00133-WHO, 2014 WL 203966
1        (N.D. Cal. Jan. 8, 2014) ..................................................................................................... 6, 29
2    United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377 (1956) ......................................... 7
3    United States v. E.I. du Pont de Nemours & Co., 366 U.S. 316 (1961) ....................................... 23
4    United States v. Gen. Dynamics Corp., 415 U.S. 486 (1974) ..................................................... 6, 7
5    United States v. Phila. Nat’l Bank, 374 U.S. 321 (1963) ................................................... 6, 14, 15
6    United States v. UnitedHealth Grp. Inc., No. 1:22-CV-0481 (CJN), 2022 WL 4365867
7        (D.D.C. Sept. 21, 2022) ......................................................................................................... 23

8    Statutes
     15 U.S.C. § 18 .......................................................................................................................... i, 4, 5
9
     15 U.S.C. § 21 .................................................................................................................................. i
10
     15 U.S.C. § 45 .................................................................................................................................. i
11
     15 U.S.C. § 53(b) ......................................................................................................................... i, 4
12
     Other Authorities
13
     Antitrust Div., U.S. Dep’t of Justice, Antitrust Division Policy Guide to Merger Remedies
14       (2004) ..................................................................................................................................... 24

15   Antitrust Div., U.S. Dep’t of Justice, Policy Guide to Merger Remedies (2011)......................... 28

16   U.S. Dep’t of Justice & Fed. Trade Comm’n, Horizontal Merger Guidelines (2010)........... passim

17

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28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               v
             Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 7 of 37




1                        MEMORANDUM OF POINTS AND AUTHORITIES

2    I.      INTRODUCTION

3            In 2021, Black Knight’s Chief Financial Officer told analysts: “[W]e have one primary

4    competitor in each business. . . . In [o]rigination, it’s ICE . . . .” PX2316 (Black Knight) at 56.

5    ICE now proposes to eliminate this competition by acquiring Black Knight. The combination of

6    these two giants of the mortgage origination software industry is likely to raise prices and

7    reduce choice for mortgage lenders, resulting in higher prices for American homebuyers.

8            ICE and Black Knight operate the two largest commercial mortgage loan origination

9    systems (“LOSs”) in the United States, which are relied upon by residential mortgage lenders to

10   process their loan origination workflows. ICE and Black Knight also compete to provide an

11   array of ancillary services used by mortgage lenders with their LOSs. One key service is

12   product pricing and eligibility engine (“PPE”) software used to price, determine eligibility for,

13   and lock mortgage loan rates. ICE’s Encompass Product and Pricing Service (“EPPS”) PPE

14   competes directly with Black Knight’s industry-leading Optimal Blue PPE. As the two

15   dominant LOS and PPE providers in the United States, the increase in concentration alone

16   renders the Acquisition, on its face, presumptively illegal in multiple relevant product markets.

17           The anticompetitive effects of the Acquisition are far from hypothetical. ICE already has

18   begun

19                Since announcing the Acquisition, ICE has

20                                                                                   . ICE has projected

21

22

23                                                            . In other words, one of ICE’s

24

25           In an eleventh-hour attempt to salvage this anticompetitive transaction, Defendants

26   arranged a          of a portion of Black Knight’s assets, including Empower, to third party

27   Constellation Web Solutions Inc. (together with its affiliates, “Constellation”). Defendants,

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               1
              Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 8 of 37




1    however, cannot satisfy their burden of establishing that this haphazard divestiture would cure

2    the Acquisition’s harms to competition. Most glaringly, because it does not include Optimal

3    Blue, the proposed divestiture fails to address in any way the elimination of competition among

4    PPEs that will result from the Acquisition. Further, Defendants’ plan would split ownership of

5    Black Knight’s current offerings and put Constellation at the mercy of its most significant

6    competitor, unable to compete with the intensity Black Knight does today. This might explain

7    why

8                       . Defendants’ proposed divestiture thus wholly fails to salvage the Acquisition.

9             Because the FTC is likely to succeed in establishing that the Acquisition is illegal, and

10   because the balance of the equities weighs in favor of the public’s interest in enforcement of the

11   antitrust laws, the Court should grant Plaintiff’s request for a preliminary injunction.

12   II.      FACTUAL BACKGROUND

13            Mortgage lenders of all sizes rely on LOSs to organize and track their mortgage

14   origination workflows. As a mortgage moves from application to close, it touches on tens to

15   hundreds of ancillary services necessary to process, underwrite, fund, and close a loan. E.g.,

16   PX0042 (ICE) at 18-19. Examples of such ancillary services include PPE, regulatory

17   compliance, point-of-sale, fee, recording, title, and document handling services. The LOS

18   coordinates and automates many of the interactions between lenders and these ancillary

19   services. E.g., PX6047 (Sahi (ICE) Dep.) at 25:7-27:10. The LOS also acts as a lender’s system

20   of record, assembling mortgage application information provided by a borrower and data

21   returned to the LOS from ancillary services. PX6046 (Tyrrell (ICE) Dep.) at 17:20-24; PX6037

22   (              (Blend) Dep.) at 18:17-19:17.

23            ICE’s Encompass LOS is the largest LOS in the United States and processes

24   of all mortgages originated across the nation each year. PX1046 (ICE) at 6. Black Knight’s

25   Empower LOS is the second most-used commercial LOS. PX1046 (ICE) at 6. Although Black

26   Knight

27                  . PX2521 (Black Knight) at 10. ICE and Black Knight compete vigorously for the

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               2
             Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 9 of 37




1    LOS business of many of the same lender customers. See § III.A.1.c, infra.

2           ICE and Black Knight also compete to provide broad arrays of ancillary services in

3    conjunction with their LOSs. Where they do not themselves develop a given service,

4    Defendants may partner with third-party providers to integrate that service into their LOSs. E.g.,

5    PX6046 (Tyrrell (ICE) Dep.) at 19:13-21:25. ICE or Black Knight alternatively may acquire

6    ancillary service providers, over time resulting in a pattern of consolidation as Defendants

7    acquire the services that they opt not to develop internally. E.g., PX2522 (Black Knight) at 12;

8    PX1694 (ICE) at 8. Black Knight’s CFO described this approach on an earnings call: “[W]e’ve

9    taken [our] business from being a loan origination system and a vendor network to really an

10   end-to-end origination software suite, both through internal innovation as well as through

11   acquisition . . . .” PX2316 (Black Knight) at 24.

12          PPEs provide an example of competition and consolidation in ancillary services.

13   Mortgage lenders rely on PPEs to collect loan rates from investors, compare application data

14   with loan requirements to determine a borrower’s eligibility, and lock an interest rate for the

15   borrower pending closing of the loan. E.g., PX6021 (Lyons (ICE) Dep.) at 47:14-48:11.

16

17                Black Knight acquired the Compass Analytics PPE in 2019 (PX2313 (Black

18   Knight) at 11), and the industry-leading Optimal Blue PPE in 2020 (PX2157 (Black Knight) at

19   4-5; PX2316 (Black Knight) at 43). ICE

20                            responded by

21                                                                                . E.g., PX1116 (ICE)

22   at 4, 7. However, in mid-2022, ICE determined that the best way to compete

23                                was not to compete at all. On May 4, 2022, ICE announced its

24   intention to acquire Black Knight for roughly $13.1 billion. PX1695 (ICE) at 1.

25          When it became clear in early 2023 that the FTC might challenge the Acquisition, ICE

26   and Black Knight hastily arranged a sale of Black Knight’s Empower LOS to Constellation,

27   conditioned on closing of the Acquisition. PX4219 (Constellation) at 1; PX1696 (ICE) at 2-3.

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               3
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 10 of 37




1    ICE and Black Knight, however, refused to sell to Constellation many of the Black Knight-

2    owned ancillary services integrated with Empower today, including Optimal Blue, which will

3    force Constellation to rely on            contracts with ICE to provide these services to

4    Empower customers. PX4097 (Constellation) at 100, 117-19. Although ICE previously

5                                          (PX6042 (Clifton (ICE) Dep.) at 212:14-22) and

6    Defendants agreed to reduce their deal price by roughly $1.4 billion to account for the spinoff

7    (PX1697 (ICE) at 2),                                                                  (PX6029

8    (Wilhelm (Constellation) Dep.) at 72:17-21.

9    III.   ARGUMENT

10          This action involves a merger of the two dominant providers of mortgage origination

11   technology in the United States. Section 7 of the Clayton Act prohibits such transactions, where

12   the effect of the transaction “may be substantially to lessen competition, or to tend to create a

13   monopoly.” 15 U.S.C. § 18. The Commission therefore has commenced an administrative

14   proceeding to adjudicate the legality of the Acquisition. The FTC seeks from this Court a

15   preliminary injunction to preserve the status quo until the administrative proceeding has run its

16   course, to preserve the Commission’s ability to order effective relief and enforce the antitrust

17   laws of the United States.

18          Section 13(b) of the FTC Act “allows a district court to grant the Commission a

19   preliminary injunction ‘[u]pon a proper showing that, weighing the equities and considering the

20   Commission’s likelihood of ultimate success, such action would be in the public interest.’” FTC

21   v. Affordable Media, 179 F.3d 1228, 1233 (9th Cir. 1999) (quoting 15 U.S.C. § 53(b)). The

22   statute “places a lighter burden on the Commission than that imposed on private litigants by the

23   traditional equity standard.” FTC v. Warner Commc’ns Inc., 742 F.2d 1156, 1159 (9th Cir.

24   1984). “Under this more lenient standard, ‘a court must 1) determine the likelihood that the

25   Commission will ultimately succeed on the merits and 2) balance the equities.’” Affordable

26   Media, 179 F.3d at 1233 (quoting Warner Commc’ns Inc., 742 F.2d at 1160).

27          In weighing the equities under § 13(b), “public equities receive far greater weight” than

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     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               4
             Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 11 of 37




1    private concerns. Warner Commc’ns Inc., 742 F.2d at 1165. These public considerations include

2    effective enforcement of the antitrust laws and ensuring the Commission’s ability to obtain

3    adequate relief if it ultimately prevails on the merits. Id. Preliminary injunctions under § 13(b)

4    “are meant to be readily available to preserve the status quo while the FTC develops its ultimate

5    case.” FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028, 1036 (D.C. Cir. 2008).

6       A.      The FTC Is Likely to Succeed on the Merits in the Administrative Proceeding

7            In evaluating the FTC’s likelihood of success on the merits, the Ninth Circuit has

8    explained that the FTC satisfies its burden if it raises questions going to the merits adequate to

9    make them “fair ground for thorough investigation, study, deliberation and determination by the

10   FTC in the first instance and ultimately by the Court of Appeals.” Warner Commc’ns, 742 F.2d

11   at 1162 (quoting FTC v. Nat’l Tea Co., 603 F.2d 694, 698 (8th Cir. 1979)). The Court’s task “is

12   not ‘to determine whether the antitrust laws have been or are about to be violated.’” FTC v.

13   CCC Holdings Inc., 605 F. Supp. 2d 26, 67 (D.D.C. 2009) (quoting Whole Foods Mkt., 548

14   F.3d at 1042 (Tatel, J., concurring)). “That adjudicatory function is vested in the FTC in the first

15   instance.” Id. Rather, this Court is required only to consider the likelihood that “after an

16   administrative hearing . . . the Commission will succeed in proving that the effect of the

17   [proposed] merger ‘may be substantially to lessen competition, or to tend to create a monopoly’

18   in violation of section 7 of the Clayton Act.” FTC v. H.J. Heinz Co., 246 F.3d 708, 714 (D.C.

19   Cir. 2001) (quoting 15 U.S.C. § 18).

20           “[A] section 7 violation is proven upon a showing of reasonable probability of

21   anticompetitive effect.” Warner Commc’ns, 742 F.2d at 1160. In the merits proceeding—in

22   other words, the administrative proceeding—the FTC “must first establish a prima facie case

23   that a merger is anticompetitive.” St. Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys.,

24   Ltd., 778 F.3d 775, 783 (9th Cir. 2015) (“St. Alphonsus”). The FTC may make this showing “by

25   establishing that the merger would produce a ‘firm controlling an undue percentage share of the

26   relevant market, and results in a significant increase in the concentration of firms in that

27   market.’” United States v. Bazaarvoice, Inc., No. 13-CV-00133-WHO, 2014 WL 203966, at

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               5
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 12 of 37




1    *64 (N.D. Cal. Jan. 8, 2014) (quoting United States v. Phila. Nat’l Bank, 374 U.S. 321, 363

2    (1963)). “Such a showing establishes a ‘presumption’ that the merger will substantially lessen

3    competition.” FTC v. Sysco Corp., 113 F. Supp. 3d 1, 23 (D.D.C. 2015). This presumption of

4    illegality will be dispositive unless Defendants “clearly show[]” that the Acquisition “is not

5    likely to have such anticompetitive effects.” United States v. Gen. Dynamics Corp., 415 U.S.

6    486, 497 (1974) (quoting Phila. Nat’l Bank, 374 U.S. at 363). If, and only if, Defendants make

7    such a showing, the FTC may nevertheless carry its burden by presenting “additional evidence

8    of anticompetitive effect.” Bazaarvoice, Inc., 2014 WL 203966, at *64 (quoting H.J. Heinz Co.,

9    246 F.3d at 715).

10          Under § 13(b), this Court’s task is simply to determine the FTC’s likelihood of success

11   under this burden-shifting framework, Sysco Corp., 113 F. Supp. 3d at 23, and “at this

12   preliminary phase [the FTC] just has to raise substantial doubts about a transaction.” Whole

13   Foods Mkt., Inc., 548 F.3d at 1036. Because the issue of whether the FTC has presented

14   evidence to raise substantial doubts about the Acquisition is a “narrow one,” the Court need not

15   “resolve the conflicts in the evidence, compare concentration ratios and effects on competition

16   in other cases, or undertake an extensive analysis of the antitrust issues.” Warner Commc’ns

17   Inc., 742 F.2d at 1164; see also California v. Am. Stores Co., 872 F.2d 837, 841 (9th Cir. 1989)

18   (“At this stage, we do not resolve conflicts in the evidence.”), rev’d on other grounds, 495 U.S.

19   271 (1990). “[D]oubts are to be resolved against the transaction.” FTC v. Elders Grain, Inc.,

20   868 F.2d 901, 906 (7th Cir. 1989) (citing Phila. Nat’l Bank, 374 U.S. at 362-63).

21          Here, the FTC is likely to succeed at the administrative hearing in proving that the effect

22   of the Acquisition may be substantially to lessen competition or to tend to create a monopoly.

23   Although the standard at this preliminary stage requires only that the FTC raise “substantial

24   doubts” about Defendants’ Acquisition, the evidence here indicates that the Acquisition is in

25   fact likely to lessen competition in the commercial LOS and all-LOS markets by combining the

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     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               6
Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 13 of 37
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 14 of 37




1    specialized vendors.” Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962); accord, e.g.,

2    FTC v. Meta Platforms Inc., No. 5:22-CV-04325-EJD, 2023 WL 2346238, at *9 (N.D. Cal. Feb.

3    3, 2023). Courts also can look to quantitative evidence of interchangeability derived from the

4    hypothetical monopolist test. E.g., Sysco Corp., 113 F. Supp. 3d at 27, 33-34. In this case, the

5    Brown Shoe practical indicia and hypothetical monopolist test both reflect that markets

6    comprising (1) commercial LOSs and (2) all LOSs are appropriate product markets in which to

7    evaluate the Acquisition.

8           Both commercial LOSs, and LOSs more generally, are products with peculiar

9    characteristics and uses. LOSs are complex software systems on which lenders rely as their

10   system of record and to coordinate their workflows with the many ancillary services they use in

11   connection with loan origination. PX6046 (Tyrrell (ICE) Dep.) at 17:20-18:9, 23:4-13; PX6047

12   (Sahi (ICE) Dep.) at 25:7-26:4. As such, LOSs process large volumes of data and must evolve

13   to keep pace not only with technological developments, but also with changes to the myriad

14   regulations that affect mortgage lending across the United States. PX6046 (Tyrrell (ICE) Dep.)

15   at 129:2-132:7; PX2022 (Black Knight) at 8. No other software serves the same purpose.

16   PX6043 (          (Polly) Dep.) at 116:19-117:17.

17

18

19       Industry participants, including Defendants, routinely recognize LOSs as a distinct market

20   in the ordinary course of their business. E.g., PX2525 (Black Knight) at 7; PX1706 (ICE) at 2.

21          Most mortgage lenders rely on commercial LOSs, rather than LOSs they have developed

22   themselves (“proprietary LOSs”). PX2022 (Black Knight) at 8. Firms such as ICE and Black

23   Knight specialize in developing, optimizing, and maintaining LOSs. E.g., PX2523 (Black

24   Knight) at 3; PX6046 (Tyrrell (ICE) Dep.) at 128:18-132:19.

25

26

27                                                       . As Black Knight itself has recognized:

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               8
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 15 of 37




1

2                                                                 PX2316 (Black Knight) at 221. The

3    trend even among the few lenders with the resources to operate a proprietary system has been to

4    move toward commercial LOSs. PX1709 (ICE) at 8; PX6046 (Tyrrell (ICE) Dep.) at 67:7-68:2.

5    In practical terms, that most mortgage lenders rely on commercial LOSs reflects that these

6    customers have unique needs and preferences satisfied by commercial LOSs. See, e.g., Whole

7    Foods Mkt., 548 F.3d at 1037-40 (“In short, a core group of particularly dedicated distinct

8    customers paying distinct prices may constitute a recognizable submarket.”).

9           Further, both the commercial LOS market and the broader market for all LOSs satisfy

10   the hypothetical monopolist test. This test asks whether a hypothetical monopolist of products

11   within a proposed market could profitably impose a small but significant and nontransitory

12   increase in price (“SSNIP”). Merger Guidelines § 4.1.13; see also Theme Promotions, Inc. v.

13   News Am. Mktg. FSI, 546 F.3d 991, 1002 (9th Cir. 2008). As discussed in the expert report of

14   Dr. Seth Sacher, because of the challenges associated with developing and operating a

15   proprietary LOS, a SSNIP by a hypothetical monopolist of commercial LOSs would not be

16   defeated by lenders switching to proprietary LOSs. PX8000 (Sacher (FTC) Rep.) ¶¶ 154-59.

17   Consistent with this conclusion,

18                (PX1711 (ICE) at 5; PX2319 (Black Knight) at 7)

19                                  . E.g., PX6046 (Tyrrell (ICE) Dep.) at 36:17-24; PX1096 (ICE)

20   at 13. Similarly, because mortgage lenders lack an adequate substitute for LOSs, a hypothetical

21   monopolist of LOSs could profitably impose a SSNIP, such that the broader market for all

22   LOSs constitutes a relevant antitrust market. PX8000 (Sacher (FTC) Rep.) ¶¶ 129-146.

23

24
     3
       The U.S. Department of Justice and FTC Horizontal Merger Guidelines (“Merger Guidelines”)
25   outline the principal analytical techniques, practices, and enforcement policy to be applied with
     respect to mergers and acquisitions involving competitors under the federal antitrust laws. The
26
     Merger Guidelines apply in FTC administrative proceedings and are persuasive authority in
27   federal court. E.g., St. Alphonsus, 778 F.3d at 784 n.9.

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               9
              Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 16 of 37




1                 b) The Acquisition Creates a Presumptively Illegal Increase in Concentration

2                    in the Relevant LOS Product Markets

3             In assessing a proposed merger’s effects on competition, courts commonly employ a

4    statistical measure of market concentration called the Herfindahl-Hirschman Index (“HHI”).4

5    “Mergers that increase the HHI more than 200 points and result in highly concentrated markets

6    are ‘presumed to be likely to enhance market power.’ Sufficiently large HHI figures establish

7    the FTC’s prima facie case that a merger is anti-competitive.” St. Alphonsus, 778 F.3d at 786

8    (quoting Merger Guidelines § 5.3 and H.J. Heinz, 246 F.3d at 716).

9                                                                       , the best measure of LOS

10   market share is Home Mortgage Disclosure Act (“HMDA”) reporting data. See, e.g., PX1091

11   (ICE) at 1

12

13                                       ); PX6026 (Moe (ICE) Dep.) at 69:22-25, 72:13-20;

14   PX2319 (Black Knight) at 7.5                     estimates of LOS shares based on HMDA loan

15   counts place ICE’s share of the commercial LOS market                 and its share of the LOS

16   market             PX1046 (ICE) at 6; PX2319 (Black Knight) at 7; PX8000 (Sacher (FTC)

17   Rep.) Tables 9-12. Black Knight’s share of the commercial LOS market                    and its

18   share of the LOS market is            PX1046 (ICE) at 6; PX2319 (Black Knight) at 7; PX8000

19   (Sacher (FTC) Rep.) Tables 9-12.

20            Based on HMDA data and Defendants’ own documents, the Acquisition will result in an

21
     4
22     “HHI is ‘calculated by summing the squares of the individual firms’ market shares,’ which
     ‘gives proportionately greater weight to the larger market shares.’” St. Alphonsus, 778 F.3d at
23   786 (quoting Merger Guidelines § 5.3). An HHI of below 1,500 represents an unconcentrated
     market; between 1,500 and 2,500 represents a moderately concentrated market; and over 2,500
24
     represents a highly concentrated market. Merger Guidelines § 5.3.
25   5
      HMDA requires financial institutions that originate a number of mortgage loans exceeding
     certain thresholds to maintain, report, and publicly disclose loan-level information about their
26
     mortgages. See generally About HMDA, Consumer Fin. Protection Bureau,
27   https://www.consumerfinance.gov/data-research/hmda/ (accessed May 31, 2023).

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               10
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 17 of 37




1    HHI of at least        and an increase of at least       points in the commercial LOS market.

2    PX8000 (Sacher (FTC) Rep.) Tables 11-12. In the broader all-LOS market, the Acquisition will

3    result in an HHI of at least       and an increase of at least      points. Id. at Tables 9-10. In

4    both markets, the Acquisition therefore leads to a highly concentrated market and a presumption

5    of illegality. See St. Alphonsus, 778 F.3d at 786; Merger Guidelines § 5.3.

6               c) There Is a Reasonable Probability that the Acquisition Will Result in

7                      Anticompetitive Effects in the Relevant LOS Product Markets

8           The presumption of illegality based on market concentration for the relevant LOS

9    product markets is reinforced by ample evidence demonstrating that the Acquisition will

10   eliminate head-to-head LOS competition that benefits Defendants’ customers today. See, e.g.,

11   FTC v. Hackensack Meridian Health, Inc., 30 F.4th 160, 173 (3d. Cir. 2022).

12          ICE and Black Knight each view the other as                                     . Black

13   Knight’s former CEO and current chairman described Encompass developer Ellie Mae, just

14   prior to its 2020 acquisition by ICE, as

15                            PX2033 (Black Knight) at 19; see also PX6033 (Larsen (Black Knight)

16   Dep.) at 39:21-40:7; PX6053 (Eagerton (Black Knight) Dep.) at 105:19-106:5. That head-to-

17   head competition between Encompass and Empower has resulted in concrete benefits to specific

18   LOS customers. See, e.g., PX1077 (ICE) at 10-11 (

19                                                            ); PX1012 (ICE) at 4 (

20                                              ); PX1059 (ICE) at 2 (

21                                                        ); see also, e.g., PX2524 (Black Knight) at 2-

22   3. The combination of ICE and Black Knight will eliminate this direct, frequent, head-to-head

23   competition to provide better prices, features, and options for their LOS customers.

24          The diminished competitive pressure on ICE post-Acquisition also will allow it to act

25   more freely on

26

27

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               11
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 18 of 37




1          . PX1096 (ICE) at 9-13.

2                           PX1096 (ICE) at 13; PX6046 (Tyrrell (ICE) Dep.) at 34:15-18, 36:7-24.

3    ICE’s enthusiasm for

4

5                                 PX1365 (ICE) at 10-11.

6

7

8

9           In sum, the Acquisition is presumptively illegal because of the increase in concentration

10   in the commercial LOS and all LOS markets. Beyond this presumption, the Acquisition will

11   eliminate head-to-head LOS competition that directly benefits Defendants’ customers today.

12          2. The Acquisition Is Presumptively Illegal and Reasonably Likely to Cause

13              Anticompetitive Effects in the Relevant PPE Product Markets

14              a) PPEs for Encompass Users and All PPEs Are Relevant Product Markets

15          The markets for PPEs for Encompass users and all PPEs both exhibit multiple Brown

16   Shoe practical indicia. Market participants recognize PPEs as a distinct product with peculiar

17   characteristics and uses. See PX7007

18                                                                                         Mortgage

19   lenders use PPEs to determine how to price a mortgage and to lock the mortgage. PX6026 (Moe

20   (ICE) Dep.) at 122:4-10. First, a loan officer or borrower inputs the borrower’s financial,

21   property, and other application data via an LOS, POS, or PPE interface. The PPE then analyzes

22   that data and returns products (i.e., mortgage terms, such as fixed or adjustable rates for

23   different terms) and prices (i.e., interest rates) for which the borrower is eligible. PX6035

24                                            ; PX6038

25       . Once a borrower has settled on mortgage terms, the loan officer can use the PPE to lock in

26   the interest rate pending closing of the underlying real estate transaction. PX6021 (Lyons (ICE)

27   Dep.) at 47:22-48:18. Part of PPEs’ value proposition is that they “

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               12
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 19 of 37




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2                   .” PX6013 (Happ (Black Knight) IH) at 49:25-50:22, 52:22-53:2.

3           Other Brown Shoe indicia support the market for PPEs for users of ICE’s Encompass

4    LOS. Software integration between a PPE and a lender’s chosen LOS enables a PPE’s full

5    functionality, enabling loan and application data to flow automatically between an LOS, PPE,

6    and other ancillary services. PX6021 (Lyons (ICE) Dep.) at 32:25-33:16; PX6025 (Anderson

7    (Black Knight) Dep.) at 68:25-70:1; PX6007 (           (LenderPrice) IH) at 147:19-149:12.

8

9

10

11

12

13          Integrating a PPE with an LOS, however, is a significant software engineering

14   undertaking that can                          . See PX1701 (ICE) at 1.

15

16                                                      . And, because the cost of switching LOSs is so

17   high (as described at § III.A.3.b infra),

18                                                                                 . PX1698 (ICE) at 3-

19   5. In other words,

20                                                                                    .

21          PPEs integrated with Encompass thus exhibit peculiar characteristics and uses—namely

22   offering the functionality of a PPE and integration with Encompass—and are furnished by a

23   limited selection of specialized vendors integrated with Encompass, which supports a finding

24   that PPEs for users of Encompass constitute a relevant product market. See Brown Shoe Co.,

25   370 U.S. at 325. Indeed,

26

27                          . PX1640 (ICE) at 8.

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               13
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 20 of 37




1           The hypothetical monopolist test confirms that PPEs for users of Encompass constitute a

2    relevant product market.

3                                 Thus, in the event of a SSNIP for PPEs for users of ICE’s

4    Encompass LOS, lenders would not switch to alternative LOSs, PPEs not integrated with

5    Encompass, or alternative methods of performing the core origination-related functions for

6    which they use PPEs in sufficient volumes to render the price increase unprofitable. PX8000

7    (Sacher (FTC) Rep.) ¶¶ 202-215. Likewise, in the event of a SSNIP on all PPEs by a

8    hypothetical monopolist, lenders would not switch to alternate methods of pricing and locking

9    loans in sufficient numbers to render the price increase unprofitable. Id. ¶ 201; see also PX6044

10   (Wester (Black Knight) Dep.) at 65:2-8. Qualitative evidence supports this result: Industry

11   participants, including Defendants, recognize the PPE market as a distinct market in the

12   ordinary course of their business. See, e.g., PX1166 (ICE) at 42; PX2259 (Black Knight) at 8.

13              b) The Acquisition Creates a Presumptively Illegal Increase in Concentration

14                  in the Relevant PPE Product Markets

15          “[A] merger which significantly increases the share and concentration of firms in the

16   relevant market is ‘so inherently likely to lessen competition’ that it must be considered

17   presumptively invalid and enjoined in the absence of clear evidence to the contrary.” FTC v.

18   Cardinal Health, Inc., 12 F. Supp. 2d 34, 52 (D.D.C. 1998) (quoting Phila. Nat’l Bank, 374

19   U.S. at 363). In Philadelphia National Bank, the Supreme Court wrote: “Without attempting to

20   specify the smallest market share which would still be considered to threaten undue

21   concentration, we are clear that 30% presents that threat.” 374 U.S. at 364.

22          The PPE market shares at issue take this case well beyond the thresholds discussed in

23   Philadelphia National Bank, and lead to a clear presumption of illegality.

24

25   PX1042 (ICE) at 8, 10; PX6046 (Tyrrell (ICE) Dep.) at 71:22-72:25.

26   Optimal Blue commands a                                on Encompass and ICE’s EPPS claims

27         . See PX8000 (Sacher (FTC) Rep.) ¶¶ 259-62 & Table 15; accord PX1270 (ICE) at 1

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               14
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 21 of 37




1    (“

2               ”). These shares result in a combined post-Acquisition market share of        with an

3    HHI over            and an increase of more than      points (PX8000 (Sacher (FTC) Rep.)

4    Table 15), far in excess of the thresholds that create a presumption of enhanced market power

5    and illegality. See St. Alphonsus, 778 F.3d at 786, 788; Merger Guidelines § 5.3.

6            The same is true of the broader market for all PPEs, where Black Knight estimates that

7    its Optimal Blue boasts a         market share. PX2311 (Black Knight) at 5. Although EPPS is

8    available only to users of Encompass, Encompass’s dominance combined with

9                                                                                    in an all-PPE

10   market. PX1166 (ICE) at 42. Defendants’ combined post-Acquisition PPE market share thus

11   significantly exceeds the combined shares found sufficient to trigger a presumption of undue

12   concentration and illegality under Philadelphia National Bank and its progeny.

13               c) There Is a Reasonable Probability that the Acquisition Will Result in

14                     Anticompetitive Effects in the Relevant PPE Product Markets

15                 i.      The Acquisition Will Eliminate Head-to-Head PPE Competition

16                         Between ICE and Black Knight

17           Defendants cannot rebut the presumption that the increase in PPE concentration

18   resulting from the Acquisition will harm competition. To the contrary, the Acquisition will

19   eliminate significant, head-to-head PPE competition that benefits Defendants’ customers today.

20   This reduction in competition not only will affect the choice and quality of PPEs in the future—

21   it already has.

22

23

24

25           ICE and Black Knight are two of few competitors offering PPEs in what ICE has called

26   a space that is “                   ” due to acquisitions and consolidation. PX1640 (ICE) at 6.

27   Since 2019, Black Knight has driven this consolidation through its acquisitions of the

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               15
Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 22 of 37
Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 23 of 37
              Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 24 of 37




1    (Sahi (ICE) Dep.) at 91:16-92:16; PX6027 (Davis) (ICE) Dep.) at 49:23-50:10. Beginning in

2    2021,

3                                                             . PX1116 (ICE) at 7; PX1588 (ICE) at 4;

4    PX6027 (Davis (ICE) Dep.) at 55:22-56:3.

5

6                                         (PX1238 (ICE) at 1), and

7

8            (e.g., PX1718 (ICE) at 1; PX6035 (                                          ).

9                                                                                 On May 4, 2022—the

10   day ICE announced its agreement to acquire Black Knight—the Chief Operating Officer of

11   ICE’s Mortgage Technology division wrote

12            .” PX1267 (ICE) at 2.

13   PX6027 (Davis (ICE) Dep.) at 55:22-56:3, 56:18-57:2, 57:8-13. By October 2022,

14

15                                                                                   PX1588 (ICE) at 3;

16   see also PX1096 (ICE) at 42; PX1241 (ICE) at 1.

17   illustrates the feature and price competition already lost as a result of the Acquisition.

18                                    further illustrate that price increases resulting from reduced PPE

19   competition are not speculative.

20

21

22

23   PX1102 (ICE) at 91 (citing PX1100 (ICE)). This               relies on an assumption that,

24

25                                          . PX1100 (ICE) at 4; PX6046 (Tyrrell (ICE) Dep.) at

26   141:20-142:13 (discussing PX1100 (ICE)). In other words,

27                                                                                   .

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               18
Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 25 of 37
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 26 of 37




1    response to

2                                                                                           (e.g.,

3    PX1700 (ICE) at 2; PX1132 (ICE) at 1). These and the other third-party PPE providers

4    integrated with Encompass today

5                                           PX6007 (

6    After acquiring Black Knight and Optimal Blue, however, ICE’s

7                                                          , freeing ICE to disadvantage competing

8    PPEs that rely on integration with Encompass.

9           ICE currently possesses the technical ability to disadvantage competing PPEs integrated

10   with Encompass. For example, in the aftermath of                                                     ,

11   ICE strategized to

12                                                  . PX1553 (ICE) at 11; see also PX1704 (ICE) at 2

13   (“

14

15                                                                                          . PX1132

16   (ICE) at 1 (“

17                                                                    .”); PX1452 (ICE) at 1

18   (discussing ICE outreach to lender                           , and scheduling call “

19                                                      ’”); PX1411 (ICE) at 2).

20          ICE also has contractual levers to disadvantage competing PPEs who rely on Encompass

21   integration. For example, ICE can increase the transaction fees or revenue shares it charges to

22   PPE providers for integration. Indeed, after the

23

24                                                                                   . PX1224 (ICE) at

25   1-2; PX6046 (Tyrrell (ICE) Dep.) at 140:25-141:3. Raising fees and revenue shares to PPE

26   providers affects their bottom lines and ability to reinvest into their services. The higher costs

27   may ultimately affect whether

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               20
Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 27 of 37
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 28 of 37




1                      See PX6046 (Tyrrell (ICE) Dep.) at 141:20-142:6 (discussing PX1100 (ICE) at

2    4). This outcome could not be achieved without ICE—through technological, contractual, or

3    other means—

4

5            The Acquisition will also amplify ICE’s financial incentives to disadvantage competing

6    Encompass-integrated PPEs. Currently,

7                                                                             doing business with

8    customers of Encompass. E.g., PX6012 (Tyrrell (ICE) IH) at 321:6-9; PX6046 (Tyrrell (ICE)

9    Dep.) at 140:25-141:3; PX6043                                      . When lenders use a product

10   that ICE owns, however, ICE receives                                    . PX6012 (Tyrrell (ICE)

11   IH) at 254:7-24. Post-Acquisition, ICE anticipates receiving

12                      (PX1093 (ICE) at 15),

13                                 . PX6012 (Tyrrell (ICE) IH) at 170:2-9, 254:7-24. Because of

14   Optimal Blue’s significant market share, after the Acquisition ICE will stand to recapture a

15   much larger proportion of business lost by competing PPE providers as a result of any

16   foreclosure or other disadvantages that ICE may inflict. PX8000 (Sacher (FTC) Rep.) ¶¶ 494-

17   505. When a third-party PPE’s customer switches to Optimal Blue after the Acquisition, ICE

18   will realize                       associated with the customer’s PPE use. Because ICE will

19   stand to gain a larger proportion of third-party PPE providers’ lost business and revenue after

20   the Acquisition, its incentive to disadvantage those PPE competitors will increase. Id. ¶ 505.

21           3. Defendants Cannot Rebut Plaintiff’s Prima Facie Case

22           Under the Section 7 burden-shifting framework, once the FTC establishes its prima facie

23   case, the burden shifts to Defendants to rebut that case. St. Alphonsus, 778 F.3d at 783. For the

24   reasons explained supra at III.A.1.c and III.A.2.c, they cannot do so in light of the

25   overwhelming evidence of likely anticompetitive effects in the relevant LOS and PPE markets.

26                  a) Defendants Cannot Demonstrate that the Proposed Divestiture Will Restore

27                     Competition in the Relevant Product Markets

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               22
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 29 of 37




1           When a merger violates § 7, an injunction prohibiting the merger is the “default

2    remedy.” In re Illumina, Inc., 2023 WL 2946882, at *55; see also United States v. E.I. du Pont

3    de Nemours & Co., 366 U.S. 316, 329 (1961) (“The very words of § 7 suggest that an undoing

4    of the acquisition is a natural remedy.”). Further, “it is well settled that once the Government

5    has successfully borne the considerable burden of establishing a violation of the law, all doubts

6    as to the remedy are to be resolved in its favor.” St. Alphonsus, 778 F.3d at 793 (quoting du

7    Pont, 366 U.S. at 334).

8           The Court should not entertain Defendants’ proposed divestiture of certain Black Knight

9    services and assets. As an initial matter, the Court’s consideration of a remedy should come

10   only after a determination of the reasonably likely competitive effects of the Acquisition. In re

11   Illumina, Inc., 2023 WL 2946882, at *52 .9 While some courts have inquired into the merits of a

12   divestiture at the rebuttal stage of the § 7 burden-shifting analysis, see United States v. Aetna

13   Inc., 240 F. Supp. 3d 1, 60 (D.D.C. 2017), under either approach, Defendants bear the heavy

14   burden to establish that their proposed divestiture would “‘restore competition,’ ‘eliminate the

15   effects’ of the Acquisition, and replace the lost competitive intensity.” In re Illumina, Inc., 2023

16   WL 2946882, at *53 (quoting Ford Motor Co., 405 U.S. at 573 & n.8); accord FTC v. Staples,

17   Inc., 190 F. Supp. 3d 100, 137 (D.D.C. 2016).10

18          “Restoring competition requires replacing the competitive intensity lost as a result of the

19
     9
       The Court should give weight to the Commission’s interpretation of the applicable law when
20
     deciding Plaintiff’s request for a preliminary injunction. See FTC v. Meta Platforms, Inc., No.
21   5:22-CV-04325-EJD, 2023 WL 2346238, at *21 (N.D. Cal. Feb. 3, 2023) (“[T]he FTC has
     clearly endorsed this theory by filing this case, and the administrative law judge will be
22   employing it during the proceeding . . . . Accordingly, in deciding the likelihood of success on
     the merits, the Court will assume the validity of this doctrine.” (quoting FTC v. Steris Corp.,
23   133 F. Supp. 3d 962, 966 (N.D. Ohio 2015))).
     10
24     Despite this weight of authority, one district court has expressed in dictum that the
     government should account for a proposed divestiture in its prima facie case (see Dkt. 57 (ICE’s
25   Answer, Defenses & Counterclaims) at 32), while acknowledging that this would contradict the
     approach taken in other cases. United States v. UnitedHealth Grp. Inc., No. 1:22-CV-0481
26
     (CJN), 2022 WL 4365867, at *8-9 (D.D.C. Sept. 21, 2022). However, even that court ultimately
27   considered the merits of the proposed divestiture at the rebuttal stage. Id. at *11.

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               23
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 30 of 37




1    merger rather than focusing narrowly on returning to premerger HHI levels.” Sysco Corp., 113

2    F. Supp. 3d at 72 (quoting Antitrust Div., U.S. Dep’t of Justice, Antitrust Division Policy Guide

3    to Merger Remedies 5 (2004)).11 To assess whether merging parties have met their burden to

4    establish that a remedy will restore competition, courts have considered factors including

5    whether a divestiture (1) transfers an intact business or “some lesser set of assets,” (2) results in

6    a continuing entanglement between the seller and divestiture buyer, or (3) involves a low

7    purchase price. Aetna, 240 F. Supp. 3d at 60, 72-73.

8           Here, Defendants cannot make the required showing that the proposed divestiture will

9    restore competition. Most glaringly, Defendants have not attempted to address competitive

10   harms in the PPE markets arising from ICE’s acquisition of Optimal Blue. Moreover, all of the

11   aforementioned factors weigh against a finding that the proposed divestiture will restore

12   competition: The divestiture would transfer only an incomplete business to Constellation, create

13   ongoing entanglements requiring Constellation to rely on ICE to serve its own customers for as

14   long               , and

15                                                        .

16                 i.     The Divestiture Does Not Remedy Competitive Harms in PPE Markets

17          Defendants’ proposed divestiture fails outright as a remedy because it does not address

18   the anticompetitive harms the Acquisition likely will cause in the markets for PPEs for

19   Encompass users and for all PPEs. As explained above, the Acquisition is likely to result in

20   competitive harms in these PPE markets largely as a result of ICE’s acquisition of Black

21   Knight’s Optimal Blue PPE. See III.A.2.c, supra. The proposed divestiture, however, does not

22   include Optimal Blue. Defendants thus have not even attempted to remedy the likely harms in

23   the relevant PPE markets. For this reason alone, the proposed divestiture fails.

24                ii.     The Divestiture Conveys an Incomplete Business

25          Because Constellation would receive only a fragment of Black Knight’s business, the

26   11
       “Like the Merger Guidelines, the Remedies Guide is frequently used by courts to guide their
27   analysis, although it is not binding law.” Aetna, 240 F. Supp. 3d at 60.

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               24
             Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 31 of 37




1    divestiture would fail to replace the competitive intensity lost as a result of the Acquisition.

2    Today, Black Knight offers Empower bundled or sold in combination with a broad suite of

3    mortgage technologies, including its industry-leading PPE, Optimal Blue. E.g., PX2023 (Black

4    Knight) at 5. Owning a broad portfolio of mortgage technologies that can be sold together with

5    Empower allows Black Knight to

6                                        PX6040 (Dugan (Black Knight) Dep.) at 23:14-25:14. A

7    competitor offering only a subset of these services may not be able to do the same.

8            The threat of Black Knight’s ability to                                     has prompted

9    competitive responses from ICE, such as

10                                          . E.g., PX1085 (ICE) at 3 (“[

11

12

13                                                                                       .”). Bundling

14   mortgage technologies also appeals to lenders because it simplifies their pricing, contracts, and

15   vendor management. PX6040 (Dugan (Black Knight) Dep.) at 94:25-95:13; see also id. at

16   112:20-23 (“

17                                                                  ”).

18           Under the terms of the proposed divestiture, Constellation, unlike Black Knight, will not

19   own many of the ancillary products integrated with Empower, and can only resell,

20                , some of those products under a Commercial Agreement with ICE. See generally

21   PX4097 (Constellation) at 100, 104, 117-19, 128-33 (“Commercial Agreement”). Also unlike

22   ICE, Constellation can resell those products                                                 ),

23   whereas Black Knight currently sells them to customers of third-party LOSs. Finally,

24   Constellation                                                                  (id. at 104, 128-33),

25   which means that Constellation will lack the commercial flexibility that Black Knight possesses

26   today                                                                                 .

27   Constellation’s founder and president recognized

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               25
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 32 of 37




1

2

3                                           .” PX4189 (Constellation) at 1.

4           Although Constellation would acquire some of the Black Knight services integrated with

5    Empower through the divestiture, it would rely on contracts with ICE to provide the remainder,

6    including the industry-leading Optimal Blue PPE. Constellation will be unable to offer the

7    single point of contact for pricing, contracts, and vendor management that Black Knight

8    currently leverages to compete against ICE.

9

10                                                                                     . PX6029

11   (Wilhelm (Constellation) Dep.) at 124:4-125:5; PX6032 (George (Constellation) Dep.) at 83:17-

12   22; PX4097 (Constellation) at 100, 107, 122-27. Between its diminished flexibility to discount

13   Empower bundles and its inability to provide lenders the convenience of a single point of

14   contact, Constellation will be unable to replicate Black Knight’s current competitive intensity.

15               iii.   The Divestiture Would Create Ongoing Entanglements and Render

16                      Constellation Dependent Upon ICE

17          Defendants’ proposed divestiture also is fundamentally flawed because it would create

18   myriad contractual entanglements between ICE and Constellation                        . “Courts are

19   skeptical of a divestiture that relies on a ‘continuing relationship between the seller and buyer of

20   divested assets’ because that leaves the buyer susceptible to the seller’s actions—which are not

21   aligned with ensuring that the buyer is an effective competitor.” Aetna, 240 F. Supp. 3d at 60

22   (quoting Sysco Corp., 113 F. Supp. 3d at 77).

23          As part of the proposed divestiture, Defendants and Constellation contemplate executing

24   an array of ongoing agreements. Of particular concern, Constellation will depend on a

25   Commercial Agreement with ICE to provide its customers with many Empower-integrated

26   services that Black Knight owns today but that ICE will own after the Acquisition, including

27   Optimal Blue. PX4097 (Constellation) at 100, 117-19. Because ICE will retain ownership of

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               26
            Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 33 of 37




1    these key Empower-integrated services, Constellation and its customers will depend on ICE for

2                                                                  . Id. at 100, 107, 122-27. Further,

3    the Commercial Agreement provides Constellation the ability to package ICE-owned services

4    with Empower to new customers for                                           . Id. at 109 § 14.1. For

5

6                                                     . Id. at 109 § 14.2. At the expiry of that

7

8           Constellation executives have acknowledged that these agreements will

9                               (PX4138 (Constellation) at 5) and

10                                                 . PX6032 (George (Constellation) Dep.) at 76:14-

11   25, 88:18-24; PX4142 (Constellation) at 4 (“[

12                                                                  PX4224 (Constellation) at 1 (after

13   the deal closes, Constellation will be “                         ”); PX6062 (Wilhelm

14   (Constellation) Dep.) at 253:22-256:2 (same). ICE would be in a position to influence the

15   experience of Constellation’s customers immediately following the divestiture, and could

16   eventually cut off those customers’ access to services.

17                                                                                      . PX4097

18   (Constellation) at 105 §§ 9.5-9.6; PX6032 (George (Constellation) Dep.) at 82:14-83:7. In this

19   case, the Court should not endorse a divestiture that is so likely to ensure that the buyer never

20   becomes a credible competitive threat. Sysco Corp., 113 F. Supp. 3d at 77-78 (rejecting

21   divestiture buyer as “not . . . truly independent” where ongoing entanglements included 3-year

22   food service licensing arrangement and 5 to 10-year database license).

23               iv.    The           Purchase Price of the Divestiture Assets Reflects

24

25          “An extremely low purchase price reveals the divergent interest between the divestiture

26   purchaser and the consumer: an inexpensive acquisition could still ‘produce something of value

27   to the purchaser’ even if it does not become a significant competitor and therefore would not

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               27
             Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 34 of 37




1    ‘cure the competitive concerns.’” Aetna, 240 F. Supp. 3d at 72 (quoting Antitrust Div., U.S.

2    Dep’t of Justice, Policy Guide to Merger Remedies 9 (2011)). Constellation has agreed to pay

3                      for Empower and the other divestiture assets, though

4                                          ” (PX6032 (George (Constellation) Dep.) at 29:19-22;

5    PX6042 (Clifton (ICE) Dep.) at 212:14-22), and the amended merger agreement (accounting for

6    divestiture of Empower) reduces the purchase price by about $1.4 billion (PX1697 (ICE) at 2).

7

8

9                                                       . One executive at Constellation, and co-lead

10   of the team negotiating the divestiture purchase, quipped to another executive: “

11                          ” PX4224 (Constellation) at 1; PX6029 (Wilhelm (Constellation) Dep.) at

12   36:1-3; PX6062 (Wilhelm (Constellation) Dep.) at 239:18-21, 250:15-18.

13           Fundamentally, Defendants’ goal in marketing the divestiture assets was

14                                            . Rather, it was

15

16                               See PX4116 (Constellation) at 8; PX4220 (Constellation) at 1;

17   PX4219 (Constellation) at 1.

18

19                (see, e.g., PX6029 (Wilhelm (Constellation) Dep.) at 48:11-19),

20

21

22                                                                                            even as

23   Constellation was negotiating the divestiture. PX6032 (George (Constellation) Dep.) at 69:1-

24   70:8.

25

26                                           ,” Aetna, 240 F. Supp. 3d at 72, and thus the divestiture is

27   unlikely to restore lost competition. See id.

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               28
                Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 35 of 37




1                  b) Defendants Cannot Demonstrate that Entry Will Be Timely, Likely, and

2                      Sufficient to Counteract the Acquisition’s Anticompetitive Effects

3               Defendants also cannot rebut the FTC’s prima facie case by showing that entry will be

4    timely, likely, and sufficient to counteract the competitive harms of the Acquisition. See

5    Bazaarvoice, 2014 WL 203966, at *71. LOS and PPE markets are characterized by high

6    barriers to entry. Black Knight has estimated that to develop a new commercial LOS would cost

7    at least                and take at least           . PX0021 (Black Knight) at 95-97. Any LOS

8    entrant or existing provider seeking to reposition also must overcome lenders’ high switching

9    costs, lengthy switching timelines, and general reluctance to switch to untested LOSs. E.g.,

10   PX1158 (ICE) at 4-6; PX8000 (Sacher (FTC) Rep.) ¶¶ 567-69, 575-80.

11              New entry or repositioning of PPEs is similarly unlikely. Black Knight estimates that it

12   would take approximately                    and                 to develop a commercial pricing

13   tool comparable to Optimal Blue, and as much as                         to build a product truly

14   competitive with Optimal Blue’s pricing tool. PX0021 (Black Knight) at 101-02. For its part,

15   ICE committed over

16

17                                         PX1116 (ICE) at 5-7. Defendants thus cannot establish that

18   PPE entry will be timely, likely, or sufficient to counter harms arising from the Acquisition.

19                 c) Defendants Cannot Establish Cognizable, Merger-Specific Efficiencies that

20                     Outweigh the Acquisition’s Anticompetitive Effects

21              The “Supreme Court has never expressly approved an efficiencies defense to a § 7

22   claim,” and the Ninth Circuit “remain[s] skeptical about the efficiencies defense in general and

23   about its scope in particular.” St. Alphonsus, 778 F.3d at 788-90. Indeed, the FTC is aware of no

24   court that has ever relied on efficiencies to rescue an unlawful acquisition. Nevertheless, the

25   burden would be on Defendants to “clearly demonstrate” proof of “extraordinary efficiencies”

26   that are merger-specific and verifiable. Id. at 790-91.

27              Here, ICE has claimed a shifting set of loosely-defined efficiencies of varying amounts

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               29
             Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 36 of 37




1    that fail to satisfy the applicable standard. Joe Tyrrell, former President of ICE’s Mortgage

2    Technology division, was “

3                          .” PX1102 (ICE) at 91-92. Tyrrell has testified that much of the basis for

4                                      ,” PX6046 (Tyrrell (ICE) Dep.) at 158:24-159:6,

5                                  ” Id. at 162:6-9. ICE’s analysis of                is only a “

6                                                                                        . PX6034

7    (Jackson (ICE) Dep.) at 120:19-121:18. These “            ” and “                ” do not clearly

8    demonstrate proof of extraordinary, merger-specific, verifiable efficiencies.

9       B.      The Equities Support a Preliminary Injunction

10           Under Section 13(b), this Court must also “balance the equities.” Warner Commc’ns,

11   742 F.2d at 1165. If the FTC has shown a likelihood of success, “a countershowing of private

12   equities alone does not justify denial of a preliminary injunction.” Id. The “principal public

13   equity” favoring a preliminary injunction is “the public interest in effective enforcement of the

14   antitrust laws.” H.J. Heinz, 246 F.3d at 726. Without preliminary relief, the Commission may

15   face the “daunting and potentially impossible task” of “unscrambling the eggs” if the proposed

16   Acquisition is ultimately deemed unlawful. FTC v. Peabody Energy Corp., 492 F. Supp. 3d

17   865, 918 (E.D. Mo. 2020). As such, “[n]o court has denied relief to the FTC in a 13(b)

18   proceeding in which the FTC has demonstrated a likelihood of success on the merits.” FTC v.

19   ProMedica Health Sys. Inc., 3:11 CV 47, 2011 WL 1219281, at *60 (N.D. Ohio Mar. 29, 2011).

20           Here, the equities support entry of a preliminary injunction pending resolution of the

21   administrative proceeding. Defendants cannot establish harm merely from waiting for the

22   administrative process, with a hearing set to begin on July 12, 2023, to play out. On the other

23   hand, allowing Defendants to merge could prevent the FTC from ordering relief to preserve

24   competition and enforce the antitrust laws were it to prevail in the administrative proceeding.

25                                            CONCLUSION

26           For the foregoing reasons, the FTC respectfully requests that the Court grant the FTC’s

27   Motion for a Preliminary Injunction.

28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               30
           Case 3:23-cv-01710-AMO Document 109 Filed 06/02/23 Page 37 of 37




1    Dated: June 2, 2023                     Respectfully submitted,

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28
     PLAINTIFF’S MEM. OF POINTS AND AUTHORITIES IN SUPPORT OF MOT. FOR PRELIM. INJUNCTION
     CASE NO. 3:23-CV-01710-AMO
                                               31
